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                                  SO ORDERED: July 11, 2019.




                                  ______________________________
                                  James M. Carr
                                  United States Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )         Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )         Jointly Administered

                    ORDER GRANTING SECOND FINAL FEE
         APPLICATION OF RUBIN & LEVIN, P.C. FOR COMPENSATION FOR
      SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
     AS AVOIDANCE CLAIMS COUNSEL FOR THE TRUSTEE ON A CONTINGENT
       FEE BASIS FOR THE PERIOD OCTOBER 1, 2018 THROUGH MAY 31, 2019

          This matter came before the Court on the Second Final Fee Application of Rubin &

 Levin, P.C. for Compensation for Services Rendered and Reimbursement of Expenses Incurred

 as Avoidance Claims Counsel for the Trustee on a Contingent Fee Basis for the Period October

 1, 2018 through May 31, 2019 (the “Application”) [Doc 3475], filed by Rubin & Levin, P.C.

 (“Rubin & Levin”), as Avoidance Claims 2 counsel to Deborah J. Caruso, the chapter 7 trustee in

 this case (the “Trustee”). In the Application, Rubin & Levin requests (a) allowance of final



 1
   The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings used in the Application.
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 compensation for professional services performed by Rubin & Levin for the period commencing

 October 1, 2018 through and including May 31, 2019 (the “Current Compensation Period”) in

 the amount of $648,125.24, and (b) reimbursement of Rubin & Levin’s actual and necessary

 expenses in the amount of $1,135.88 incurred during the Current Compensation Period.

        The Court, having considered the Application and having convened a hearing on July 11,

 2019 and being otherwise duly advised in the premises, determines the Application should be,

 and hereby is GRANTED. Accordingly,

        IT IS THEREFORE ORDERED as follows:

        1.      The Application is GRANTED in its entirety.

        2.      Rubin & Levin’s compensation for professional services rendered during the

 Current Compensation Period is allowed on a final basis in the amount of $648,125.24, which

 represents the contingency fee earned on all Court-approved settled Avoidance Claims during the

 Current Compensation Period

        3.      Reimbursement of Rubin & Levin’s expenses incurred during the Current

 Compensation Period in connection with all matters related to Avoidance Claims is allowed on a

 final basis in the amount of $1,135.88.

        4.      The Trustee is authorized to pay Rubin & Levin the total amount of $649,261.12,

 representing the final approved contingency fee earned on all Court-approved settled Avoidance

 Claims during the Current Compensation Period in the amount of $648,125.24 and

 reimbursement of expenses during the Current Compensation Period in the amount of $1,135.88.

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